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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DYLAN BRANDT, et al.,                                                                   PLAINTIFFS,

v.                                   No. 4:21-CV-00450-JM

LESLIE RUTLEDGE, et al.,                                                              DEFENDANTS.


                      DEFENDANTS’ MOTION TO EXCLUDE PLAINTIFFS’
             EVIDENTIARY DEPOSITION DESIGNATIONS OF DR. RHYS BRANMAN AND
                            INCORPORATED BRIEF IN SUPPORT

       Defendants, through counsel, for their Motion to Exclude Plaintiffs’ Evidentiary

Deposition Designations of Dr. Rhys Branman and Incorporated Brief in Support, hereby state as

follows:

       1.      This is an action challenging Act 626 of 2021 (the “SAFE Act”). The case is set for

trial commencing October 17, 2022. (See Amended Final Scheduling Order, Doc. 99).

       2.      Discovery in this matter closed on May 26, 2022. Pursuant to this Court’s order,

Plaintiffs conducted the deposition of Dr. Rhys Branman after the close of discovery.

       3.      Pursuant to the parties’ agreement, on July 14, 2022, Plaintiffs served Defendants

with deposition designations for trial, a true and correct copy of which is attached hereto as Exhibit

“A” and incorporated herein by reference.

       4.      In the document served upon Defendants, Plaintiffs designated portions of the

testimony Dr. Branman, who has been sued in his official capacity as a member of the Arkansas

State Medical Board.

       5.      Pursuant to the parties’ agreement, on July 21, 2022, Defendants made counter-

designations to additional portions of Dr. Branman’s deposition testimony that should be read and

admitted into evidence at trial if the Court permits him to testify via deposition. Defendants’
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counter-designations were made subject to and without waiving any objections. A true and correct

copy of Defendants’ counter-designations is attached hereto as Exhibit “B” and incorporated

herein by reference.

       6.      The parties also mutually agreed Defendants would have two weeks after receipt of

Plaintiffs’ deposition designations to submit their objections. Defendants now submit their

objections to Plaintiffs’ deposition designations of Dr. Branman.

       7.      First and foremost, Dr. Branman’s testimony is irrelevant and should be excluded

from trial. Fed. R. Evid. 402.

       8.      To the extent this Court finds that the use of Dr. Branman’s deposition testimony

at trial is proper, it should not permit any testimony elicited on his interpretation of any law. Dr.

Branman is not an attorney, and therefore his testimony on the meaning or effect of any law is

irrelevant under Federal Rules of Evidence (the “Rules”) 402 and 403, and improper lay opinion

and legal conclusion under Rules 701 and 702. Further, the use of any deposition testimony that

would call for speculation is not admissible at trial pursuant to Rule 602, including how the Board

would rule or act on any particular matter, and therefore the Court should not permit the use of

such deposition testimony.

       9.      Only relevant evidence is admissible under the Federal Rules of Evidence. Fed. R.

Evid. 402. Evidence is relevant if it has any tendency to make a fact more or less probable than it

would be without the evidence, and the fact is of consequence in determining the action. Fed. R.

Evid. 401(a)–(b). Similar to Plaintiffs’ deposition designations previously made for Defendants’

30(b)(6) witness Amy Embry, Plaintiffs asked multiple questions of Dr. Branman that are

irrelevant. Those questions included inquiries into the drug Ivermectin, gastric bypass surgery, and

opioids. To the extent this Court determines that it is appropriate for Dr. Branman to speculate on



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legal and factual issues in this case, it should limit that speculation to topics that are germane to

the SAFE Act – not how the Board might rule in matters involving COVID-19, gastric bypass

surgeries, or any other irrelevant topic Plaintiffs suggest.

       10.     Rule 701 of the Federal Rules of Evidence bars fact witnesses from offering opinion

testimony unless it is: (a) rationally based on the witness’s perception; (b) helpful to a clear

understanding of their testimony or the determination of a fact in issue; and (c) not based on

scientific, technical, or other specialized knowledge within the scope of Rule 702. Fed. R. Evid.

701(a)–(c). A party may not cloak impermissible legal conclusions in lay opinion testimony.

Hogan v. American Tel. & Tel. Co., 812 F.2d 409, 411 (8th Cir. 1987) (noting that the

“helpfulness” requirement in Rule 701 “assures against admitting opinions which would in essence

tell the factfinder what result to reach”). Where a party proffers lay witness testimony that

necessarily encompasses a legal conclusion, a trial court may conclude that a response would not

be helpful to the trier of fact. U.S. v. Ness, 665 F.2d 248, 250 (8th Cir. 1981) (“The only restriction

placed upon counsel was that he could not, in effect, ask the witness to draw a legal conclusion

from his own testimony”). To the extent Plaintiffs seek to draw a legal conclusion from the

testimony of Dr. Branman, it is improper and inadmissible evidence. Further, because Dr. Branman

is not an attorney, it renders any of his lay opinions on the meaning of a law irrelevant under Rules

401 and 402. Additionally, Dr. Branman has not been identified as an expert witness for purposes

of this case. Any testimony that would elicit opinions requiring scientific or specialized knowledge

is not appropriate for this case. Fed. R. Evid. 701 and 702.

       11.     Rule 602 requires that a witness have personal knowledge of a matter in order to

provide evidentiary testimony. Fed. R. Evid. 602. Defendants object to the use of any deposition

testimony that seeks to elicit speculative testimony on how the Board as a whole, or an individual



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Board member, may act in the future or in a hypothetical scenario. Dr. Branman does not have

personal knowledge of any specific Board member’s future thought processes, or how a specific

Board member may act if presented with an unknown variable of facts.

         12.       Defendants respectfully move this Court to exclude certain portions of Plaintiffs’

deposition designations. In the chart below, Defendants set forth their objections to the use of

certain portions of Dr. Branman’s deposition testimony. Defendants have provided the specific

objection and legal basis supporting exclusion. In the event the designations are permitted and

presented at trial, Defendants ask that the testimony be limited pursuant to the following

objections:

 Page          Line         Page     Line      Objection
 Start         Start        End      End
 24            16           25       1         Object to lines 24:16–25:1 as to relevance under Rules
                                               401 and 402.

                                               Object to lines 24:15–25:1 due to calling for
                                               speculation under Rule 602.

                                               Object to lines 24:15–25:1 due to designating
                                               incomplete testimony under Rule 106.

 28            11           29       14        Object to lines 28:11–29:14 as to relevance under
                                               Rules 401 and 402.

                                               Object to lines 28:11–29:14 as to improper opinion
                                               testimony under Rules 701 and 702.

                                               Object to lines 28:11–29:14 due to designating
                                               incomplete testimony under Rule 106.

 30            5            31       12        Object to lines 30:5–31:12 as to relevance under Rules
                                               401 and 402.

                                               Object to lines 30:5–31:12 as to improper opinion
                                               testimony under Rules 701 and 702.

                                               Object to lines 30:5–31:12 due to calling for
                                               speculation under Rule 602.

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Page      Line      Page   Line   Objection
Start     Start     End    End

                                  Object to lines 30:5–31:12 due to designating
                                  incomplete testimony under Rule 106.

31        24        32     3      Object to lines 31:24–32:3 as to relevance under Rules
                                  401 and 402.

                                  Object to lines 31:24–32:3 due to designating
                                  incomplete testimony under Rule 106.

33        18        33     23     Object to lines 33:18–33:23 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 33:18–33:23 due to designating
                                  incomplete testimony under Rule 106.

41        14        41     22     Object to lines 41:14–41:22 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 41:14–41:22 as to improper opinion
                                  testimony under Rules 701 and 702.

42        7         43     9      Object to lines 42:7–43:9 as to relevance under Rules
                                  401 and 402.

                                  Object to lines 42:7–43:9 due to designating
                                  incomplete testimony under Rule 106.

47        11        47     21     Object to lines 47:11–47:21 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 47:11–47:21 as to improper opinion
                                  testimony under Rules 701 and 702.

                                  Object to lines 47:11–47:21 due to designating
                                  incomplete testimony under Rule 106.

                                  Object to lines 47:11–47:21 due to calling for
                                  speculation under Rule 602.

65        13        65     20     Object to lines 65:13–65:20 as to relevance under
                                  Rules 401 and 402.



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Page      Line      Page   Line   Objection
Start     Start     End    End
                                  Object to lines 65:13–65:20 as to improper opinion
                                  testimony under Rules 701 and 702.

                                  Object to lines 65:13–65:20 due to designating
                                  incomplete testimony under Rule 106.

67        10        68     9      Object to lines 61:10–68:9 as to relevance under Rules
                                  401 and 402.

                                  Object to lines 68:1–68:9 due to calling for
                                  speculation under Rule 602.

81        21        82     21     Object to lines 81:21–82:21 as to relevance under
                                  Rules 401 and 402.
85        5         85     23     Object to lines 85:5–85:23 as to relevance under Rules
                                  401 and 402.

                                  Object to lines 85:5–85:23 as to improper opinion
                                  testimony under Rules 701 and 702.

                                  Object to lines 85:5–85:23 due to designating
                                  incomplete testimony under Rule 106.

86        3         87     8      Object to lines 86:3–87:8 as to relevance under Rules
                                  401 and 402.

                                  Object to lines 86:3–87:8 as to improper opinion
                                  testimony under Rules 701 and 702.

                                  Object to lines 86:3–87:8 due to designating
                                  incomplete testimony under Rule 106.

87        24        88     12     Object to lines 87:24–88:12 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 87:24–88:12 as to improper opinion
                                  testimony under Rules 701 and 702.

                                  Object to lines 87:24–88:12 due to designating
                                  incomplete testimony under Rule 106.

                                  Object to lines 87:24–88:6 due to calling for
                                  speculation under Rule 602.


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Page      Line      Page   Line   Objection
Start     Start     End    End
88        18        89     6      Object to lines 88:18–89:6 as to relevance under Rules
                                  401 and 402.

                                  Object to lines 88:18–89:6 as to improper opinion
                                  testimony under Rules 701 and 702.

                                  Object to lines 88:18–89:6 due to designating
                                  incomplete testimony under Rule 106.

91        2         91     10     Object to lines 91:2–91:10 as to relevance under Rules
                                  401 and 402.

                                  Object to lines 91:2–91:10 as to improper opinion
                                  testimony under Rules 701 and 702.

103       7         103    10     Object to lines 103:7–103:10 as to relevance under
                                  Rules 401 and 402.

111       16        111    19     Object to lines 111:16–111:19 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 111:16–111:19 as to improper opinion
                                  testimony under Rules 701 and 702.

                                  Object to lines 111:16–111:19 due to designating
                                  incomplete testimony under Rule 106.


113       16        114    9      Object to lines 113:16–114:9 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 113:16–114:9 as to improper opinion
                                  testimony under Rules 701 and 702.

                                  Object to lines 113:16–114:9 due to designating
                                  incomplete testimony under Rule 106.

119       19        120    23     Object to lines 119:19–120:23 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 119:19–120:23 as to improper opinion
                                  testimony under Rules 701 and 702.



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Page      Line      Page   Line   Objection
Start     Start     End    End
                                  Object to lines 119:19–120:23 due to calling for
                                  speculation under Rule 602.

                                  Object to lines 119:19–120:23 due to designating
                                  incomplete testimony under Rule 106.

124       16        124    23     Object to lines 124:16–124:23 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 124:16–124:13 as to improper opinion
                                  testimony under Rules 701 and 702.

                                  Object to lines 124:16–124:23 due to designating
                                  incomplete testimony under Rule 106.

127       2         130    3      Object to lines 127:2–130:3 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 127:2–130:3 as to improper opinion
                                  testimony under Rules 701 and 702.

132       6         132    23     Object to lines 132:6–132:23 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 132:6–132:23 as to improper opinion
                                  testimony under Rules 701 and 702.

                                  Object to lines 132:6–132:23 due to designating
                                  incomplete testimony under Rule 106.

135       5         135    23     Object to lines 135:5–135:23 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 135:5–135:23 as to improper opinion
                                  testimony under Rules 701 and 702.

                                  Object to lines 135:5–135:23 due to designating
                                  incomplete testimony under Rule 106.

137       9         137    17     Object to lines 137:9–137:17 as to relevance under
                                  Rules 401 and 402.

                                  Object to lines 137:9–137:17 as to improper opinion
                                  testimony under Rules 701 and 702.

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 Page          Line       Page    Line     Objection
 Start         Start      End     End

                                           Object to lines 137:9–137:17 due to designating
                                           incomplete testimony under Rule 106.
 138           18         139     8        Object to lines 138:18–139:8 as to relevance under
                                           Rules 401 and 402.

                                           Object to lines 138:18–139:8 as to improper opinion
                                           testimony under Rules 701 and 702.

 149           20         149     25 1     Object to lines 149:20–149:25 as to relevance under
                                           Rules 401 and 402.

                                           Object to lines 149:20–149:25 as to improper opinion
                                           testimony under Rules 701 and 702.

                                           Object to lines 149:20–149:25 due to designating
                                           incomplete testimony under Rule 106.



         WHEREFORE, Defendants respectfully request that this Court exclude Dr. Branman’s

testimony because it is irrelevant. If the Court determines his testimony is somehow relevant, this

Court should issue an order excluding the use of any testimony on his interpretation on matters of

law, his speculation into vague issues about other medical treatments, or how the Board would rule

or act on a particular matter.




         1
         Plaintiffs originally designated lines 149:20 through 149:4, which may be a scrivener’s
error. Out of an abundance of caution, Defendants have asserted their objection to apply through
line 25 of page 149.
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                            Respectfully Submitted,

                            LESLIE RUTLEDGE
                            Arkansas Attorney General

                            Dylan L. Jacobs (2016167)
                            ARKANSAS ATTORNEY GENERAL’S OFFICE
                            323 Center Street, Suite 200
                            Little Rock, AR 72201
                            Phone: (501) 682-2700
                            Email: dylan.jacobs@arkansasag.gov

                            Michael Cantrell (2012287)
                            ARKANSAS ATTORNEY GENERAL’S OFFICE
                            323 Center Street, Suite 200
                            Little Rock, AR 72201
                            Phone: (501) 682-2401
                            Email: michael.cantrell@arkansasag.gov

                            Amanda D. Land (2012135)
                            Assistant Attorney General
                            ARKANSAS ATTORNEY GENERAL’S OFFICE
                            323 Center Street, Suite 200
                            Little Rock, AR 72201
                            Phone: (501) 682-2029
                            Fax: (501) 682-8118
                            amanda.land@arkansasag.gov


                            Attorneys for Defendants




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